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                  EXHIBIT 9
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                                                     U.S. Department of Justice

                                                     -Criminal Division
                                                     Office 6:f.in.tema'tional Affairs
 MDR:KJH:JEC:MRP:jmf
 DOJNo. 182.53177
                                                     Washf11gwn, D. G 20530


                                                     January 29, 2016



 VIA E-MAIL AND FEDEX

  Ju.de DeSouza
  United Kingdom Central Authority
  Home Office ·        •
  3rd Floor, Seacole Building
• 2 Marshrnn Street
  London, England SWlP 4DF

        SUBJECT:       Request for Assistance in the Investigation of Autonomy Coxporation

 Dear Mr. Desouza:

         -Attached is a request for assistance pursuantto the.1994 Treaty of Mutual Legal
 Assistance in Criminal Matters between the United States of America and the United Kingdom,
 as amended by the 16 December 2004 Instrument arid exchange ofnotes. Should you have any
 questions regarding the assistance requested,_please contact me by telepho1ie at 202-598-8012 or
 bye.mail at Martyna.Pospieszalsb@usdoj.gov-. fumy absence, please contact Jason Fischer,
 In.ternati.on:al.Affaits Specialist, by telephone at202~305-1995 or by e-mail at
 Jason.Fischer@usdoj.gov. Thank you for your assistance in this matte~.         •

                                                    Sincerely,_

                                                    Mary D. Rodriguez
                                                    Acting Director



                                                                              ~M_ _
                                                                        /Jw!P~-
                                               By: ~'9____,__.r;;'---'--'-'
                                                   -MartynaH. Pospieszalska
                                                    Trial Attorney.


Enclosure




                                                                                                    USAO 00003559
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                                                      U.S. Department of Justice •

                                                      Criminal Division
MDR:KJH:JEC;MBP:jf
DOJNo. 182--53177
Office ofInternational Affairs                        Wasfdngto1~ D,C, 20530


                                                      •Januaiy29, 2015

TO:                The Central Authority of the United K"4igdom

SUBJECT:           Request for Assistance in the Investigation ofAutonomy Corporation
                                 r
          The Central Authority of the United States of America requests the assistance of the

Central Authol'ity of the United Kingdom under the 1994 Treaty of Mutual LegaJ Assistance in

C:ti.minal Matters between the United States of America and the United Kingdom, as amended by

16 December 2004 Instrument and exchange ofnotes (''the Treaty"). The United States Attomey

for •the Northern District of California ("the prosecutor") and the Federal Bureau of Investigation

(collectively, "the U.S. authorities',) have been investigating violations of U.S. criminal law

involving a scheme to defraud Hewlett-Packard Company ("HP") based on Autonomy

Corporation plc's (''Autonomy',) materi~Uy mi~stated :financial statements. U.S. authorities are

investigating whether Autonomy misstated its financial performance iri annual and quarterly

reports-as a part of a scheme to defraud HP and othel's.

         Autonomy was a publicly traded company in the United Kingdom until its sale in

October 20_11 to IIP. The investigation to date reflects that individuals at Autonomy.including

Michael Richard Lynch ("Lynch''), Sushovan Tareque Hussain ("Hussain"), Stephen Keith

Chamberlain ("Chamberlai11"), Andrew Mark Kanter ("Kanter,,), and other senior officers of

Autonomy caused financial statements with material misstatements to be released. Accordingly,

the U.S. authorities seek assistance in obtaining bank and brokerage records of several accounts

in the UT( to demonstrate these accounts received money from the scheme to defraud. The U.S.




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 authoriti~ also seek records from the receiving agent that was involved with HP's acquisition of

Autonomy, who is believed to possess evidence that the alleged conspirators tendered their

Autonomy shares and reqeived payment for them. Finally, the U.S. authorities seek phone

records for one ofthe alleged conspirators.

                                       CONFIDENTIALtrY

        The details of this criminal investigation are considered sensitive. Accordingly, please

keep this request confidential in all1·espects, and do not share its contents, its subject matter~ or

the fact that the request has been made with any private persons (including the subjects of the

investigation), or any government officials whose knowledge is not absolutely necessary for

purposes of executing this request. In addition, please advise all who muirt be made aware of this

request for assistance that the request, its contents, and its subject matter are to be kept

confidential and should not be shared. If the request cannot he executed. withoutpubllc

discloslU'e, the United States asks that the autb.oritie~ of the United Kingdom notify the Central

,A.u;th.ority ofthe United States before any action is taken towards execution.

                                            THE FACTS

        Autonomy was a company incorporated in England and Wales with a registered office in

Cambridge, United-Kingdom. Its principal activities were software development and

distribution. Autonomy maintained dual headq_uarters ±n San Francisco, California, and

Cambiidge, United Kingdom. Autonomy was a publicly traded company whose shares were

listed on the London Stock Exchange and were bought, held, and sold by individuals and entities

throughout the United States, including the '.Northern District of California.




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             Lynch co-founded Auton,omy and served as its Chief Executive Officer (CEO) from 1996

     until May 2012. Hussain was the Chief Financial Officer (CFO) of Autonomy from June 2001

     until May 2.012. Chamberlain was the Vice President of Finance from 2005 until March 2012.

    Kanter was Autonomy's Chief Operating Officer (COO) and General Counsel from 2001. to May

    2012.

            From 2009 th1'ou.gh July 2011, Autonomy published annual and quarterly rep01is

    including its financial xesults. Autonomy stated in its annual and quarterly reports that its
                                                          . .
    financial statements were prepared in accordance with International Financial Reporting

    Standards ("IFRS"). Autonomy al~o stated or suggested that it followed Generally Accepted

    Accounting Principles (''GAAP") in the United States for software revenue recognition. For

    example, Autonomy stated on its website:

                   for revenue recognition we voluntarily adhere -to the principles set
                   out in US GAAP SOP 97-2, which is far more detailed, •
                   prescriptive and conservative than IFRS, and that has ma.de it the
                   'gold standard, for other software companies like Oracle and
                   Microsoft.

    Lynch, Hussain, Chamberlain, and Kanter each reviewed Autonomy, s quarterly reports. Lynch
L
    and Hussain also signed statements ofresponsibility·w:ithrespectto Autonomy's 2009-and 2010

    annual reports, as well as its reports for the quarters ended June 2009, June 2010, and June 2011.

    Lynch and Hussain, along with Kanter, also participated in calls with analysts who followed

    Autonomy's stock.

            During the period from at least the first quru.ter of 2009 through October_2011, Lynch and

    o{hers engaged in a scheme designed to falsely-inflate the revenue that Atrtonomy had earned,

    and would report those false revenues in its annual and quarterly reports. As a result, Lynch and

    others were able to create the false appearance that the company was growing quickly, and

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 thereby inflate the price of Autonomy's stock. For example, in certain instances where

 Autonomy was unable to close a sale of software with a client by the end of a quarter, Autonomy

 claimed to have "sold" the software to a: "value added reseller" (VAR) instead.1 However,

 Autonomy had not satisfied certain IFRS requirements concerning its sale to the VM, including

 that Autonomy had not transferred to th.e buyer the significant risks and rewal'ds of ownership of

 the goods; it retained effective control over the goods sold~ and it was not probable that the

 economic benefits associated with the transaction would flow to Autonomy. rn·fact, the VARs

 lacked the ability or.intent to pay and had no independent use for the software.

         In addition to improperly recognizing revenue on certa{n "VAR" transactions in violation

 ofthe.IFRS requirements, Autonomy also engaged in certain reciprocal transactions whereby it

 sold softwarn to a customer at one price and. purchased products or services from the same

 customer at a greater price -thus resulting in a "roundttlp>; of cash that made Autonomy> s

 revenue (and growth) greater than tl:J_ey really were. Finally, Autonomy also failed to disclose

that it engaged in substantial sales of third-party computer hardware, without moclifi.catio~_and

 unaccompanied by any Autonomy software. Omitting this informatio!). made Autonomy look .

 like a quickly ·growing software company rather than a more slowly growing h_ard:ware company.

After HP acquired Autonomy, HP discovered that Autonomy owed·a substantial amount to an

HP competitor for computer hardware and ultimately learned of the full scope of Autonomy's

hardware sales.

         Hussain's Telephone Numbel's

         E-mai1s and documents provided by HP and other records obtained 1Jy U.S. authorities,.

de.tnonstrate that Hussain used two cellular phone numb~rs to communicate with Autonomy


1 A VAR is a company that adds features or service.q to an existing product and the1uese1ls it.

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  employees and others in the U.S. relating to VAR and other transactions throughout the scheme:

  +447833467012, operated by Vodaphone, and +447595219540, operated by Telefonica UK.

  Limited. For example, U,S, phone recmds reflect that +447595219540 was used to call the CFO

  ofone ofthe VARs onor about January 1, 2010. The CFO of the VAR has indicated t_o U.S.

  authorities that Hussain called him that day to request that the VAR agree· to a software sale, on

 which Autonomy ultimately improperly recognized revenue in their reports for tbe'year 2009.

 U.S. phone recol'ds also reflect that +447833467012 was us~d on or about April 4, 2011, to call

 an Autonomy employee located in the U.S. -who was responsible for facilitating VAR.

 transactions. In addition, +447833467012 was provided as the contact number for Hussain _on a

 contact list fot those working on HP' s acquisition of Autonmhy.

          Barcla;!S PLC & UBS AG Accounts Utilized by Autonomy Officers

          During the scheme to inflate Autonomy's value and shares, Autonomy made payments,

 including payment for their salaries, to Lynch into Barclays PLC ("Barclays Bank") account

 number 10594105; to Hussain into HSBC account number 51471627; and to Chamberlainjnto

 Barclays Bank acco'ijnt number 50884103 .2 Hussain, Chamberlain, and Kanter also exercised

 stock options through a~c:-.ow.1ts held by UBS AG (''UBS") in. London, but the account numbers

 remain unknown, U.S. authorities 1eai:ned of these bank accounts and stock option exercises

 from information in the possession of_HP, including a spreadsheet of stock option exercises by

 Hussain, Chamberlain, and Kanter,




 :l U.S. authorities do not 1mow the address for these accounts. Barclays Bank appea1·s to be a subsidiary ofBm·clays
 PLC, which is located at 1 Churchill Place, LondonB14 5HP, United Kingdom, telephone number+44207116100.
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         HP's Acquisition of Autonomy

         In onu:ound December 2010 or January 2011, Lynch authorized El):1 investment banker

 based in California to approach BP and others about the possibility of acquiring Autonomy. On

 or about August 18, 2011, HP and Hewlett-Packard Vision B.V. ("B:P Vision"), an indirect

 wholly-owned subsidiary of BP, entered into an Offer Agreement with Autonomy and publicly

 announced an offer to acquire the outstanding shares of Autonomy for £25.50 ($42.11) per share

 in cash. The offer directed that acceptances be delivered to Capita Registrars Limited {"Capita"),

 located at the Registry, 34 Beckenham Road, Beckenham, Kent BR3 4TU (Telephone

 +442037285000), which acted as a·receiving agent for the offer and handled payment of

 acquisition funds to Autonomy shareholders. •

         To facilitate-the sale, Capita opened bank accounts at the Royal Bruik of Scotland to

 rec~ive payments from HP. Specifically, accoun.tnurn~er2~369035 (Sort Code 15~10-00) was

 opened under the name "Capita Registrars Limited CREST Clearing Account," an.d account

 number 23083615 (Sort Code 15-10-00) was opened under the name "Capita Registrars Limited

 Re: Hewlett-Packard Vision B.V. / Autonomy Corporation pk-Takeover Case Consideration

 A/C," Lynch, Hussain, Chamberlain, and !(anter were among those who accept~d fue offer.

 Each tendered their shares as part of the acquisition and received millions of dollars as· a result.

 Angela Maria Bacares eBacares"), Lynch's wife and at times an Autonomy employee, also

 tendered shares in her name and profited as a result of the acquisition.

        Accounts Suspected ofReceivrngProceeds of the Sale of Autonomy to HP

        Prior to October 2011, according to e-mails and account statements between Lynch and a

 UBS money manager provided to U.S. authorities by HP, Lynch and Bacares maintained a

 wealth manage1Il.ellt ·and/or securities bmkerage account or accounts holding Autonomy shares at

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 UBS in London, The account number(s) is unknown. As of March 2013, U.S. authorities have

 have determined that Lynch continues to be associated with accounts at UBS in London, but

 those account number(s) remain unlmown.

        The U.S. authorities also have learned through investigation that, in 2008, Lynch and

 Bacares each established accounts with Merrill Lynch Portfolio Managers Limited in the UK. In

.or around July 2013, Merri)-1 Lynch Portfolio Managers Limite4 was acquired by Julius Baer

 Group and custody of the assets in the accounts were transferred to Guernsey. Assets in the

Meni.ll Lynch and Julius Baer acc01mts contain part of the proceeds that Lynch receiyed from

 the sale of Autono.tny, Lynch holds relationship number 45 08 .1443· and Bae.ares hol&
                                                                                                          I
relati0nship number 4508.1772. Although the assets in the account were transferred to

Guernsey, U.S. autho~iti.es believe Julius Baer Group affiliates in the U~- Julius Baer

International Limited and Julius Baer Po1tfolio Managers Limited- may still hold relevant

1·ecords because that is where Lynch resides.

      . Finally, during the course of their investigation, the U.S. authorities have learned that

Lynch maintained banlc, brokerage; 01· investment accounts at J.P. Morgan Intemati.onal Bank

Limited in the.UK, including a?countnumbers 9337000, 9337001, 9337050, 9337051; "tl?-at, as of

March 2013, Lynch held an account at Credit Suisse in London (ac~ount num~er unknown); and

that Bacares held pti.vate bank account number 01495496 (Sort Code 400731) at HSBC in the

UK, which may have received proceeds from the Juli~ Baer accounts, AB of January 2014,

Hussain also held an account at HSBC Bank PLC in the UK, but the account number remains

unknown. In order to further the investigation into the scheme, as well as identify assets that

may be sllbjectto forfeiture und5r U.S. law, U,S, authorities seek the assistance of the



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  appropriate UK authorities to identify the bank accounts currently unknown to U.S. authorities,

  and to obtain bank records for the accounts outlined in this request.

                                          THE OFFENSES
 18 U.S.C. § 371. Conspiracy to commit offense or to defraud United States.
 If two or more persons conspire either to commit any offense against the United States, or to
 defraud the United States. or any agency thereof :in ariy manner or for any purpose, and one or
 more of such persons do any act to effect the object ofthe conspiracy, each·shall be ... imprisoned
 not more than five years ... ,                          •
 18 U.S.C. § 1343.'-Frand by wire, radio or television.
 :whoever, having devised or intending to devise any scheme or artifice to defraud. or for obtaining
 money or property by means of false or fraudulent pretenses, representations, or promises,
 transmits or causes to be transmitted by means. of wire, radio, or television communication in
 interstate or foreign commerce, any writings, signs, signals, pictures, or sounds for the purpose of
 executing such scheme or artifice, shall be .. . imprisoned not more than 20 years .... If the
 violation occurs in relation to . . . or affects a :financial institution, such person shall be . . . .
 imprisoned nnt more than 30 years : . ..
 18 U.S.C. § 1348. Securities and commodities fraud.
 Whoever knowingly executes, or attempts to execute, a scp.eme or arti:fice-
          (1) to defraud any person in connection with any commodity for future delivery, o.r any
 option on a commodity for future delivery, or any security of an issuer with a class of securities
 registered under section 12 of the Securities Exchange Act of 1934 15 U, S. C 78l) or that is required
 to file reports under S(..'Ction lS(d) of the Securities Ex.change Act of 1934 (15 U.S.C. 78o(d); or
          (2) to obtain, by means of false or fraudulent pretenses, representations, o:r pro.mises) any
 money or property in connection with the purchase or sale of any of any commodity for future
 delivery, or any option on a commodity for future delivery, or'any security of an issuer with a class
 of securities registered under Section 12 ofthe Security Exchange Act of 1934 (15 U.S.Cl) or that
 is required to file reports under section 15 (d) of the Securiti(?S Exchange Act of 1934 (15 U.S. C,
 780( d). su.ch]. security . . . shall be , . . imprisoned not more than 25 years . , ..
 18 U.S.C. § 1349, Attempt and conspiracy.
 An.y person who attempts or conspires to commit any offense under this chapter shall be subject
 to the ~rune penalties as those prescribed for the offense, the commi'ssion of which  was
                                                                                       the object
 of the attempt or conspiracy.
                            PERSONS AND ENTITIES INVOLVED
 TARGETS/SUBJECTS

 1.     MICHA.EL RIC.BARD LYNCH
        Alias:               Dr. Michael Lynch
                             MikeLynch
                                                  8




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           Date of Birth:                June 16, -1965
           l'lace ofBhth:                United Kingdom
           Citizenship:                  United'I<ingdom
           Passport Number:              DK.passport (094434703)
           Address:                      26 St. Leona:rds Terrace, London, England, SW3 4QG
                                         Loudham Hall; Pettistree, Woodbridge IP13 0NN

 2.       SUSHOVANTAREQUERUSSAIN
          Date of Birth:   March 29, 1964
          Place ofBirth:   Bangladesh
          Citizenship:     United Kingdom
          Passport Number: UK passport (099206851)
          Address:         95 Gresham Street, London, England
                           2 Chipstead Lane, Sev11-oalcs, TN13 2AG, United Kingdom

 3.       STEPHEN KEITH CHAJY.IBERLAIN
          Alias:               Steve Chamberlain
          Date of Birth:       June 21, 1972
          Citizenship:         United Kingdom
          Race:                Caucasian
          Passport Number:     UK passport (650803696)
          Address:            Willingham, Cambridge

 4.       ANDREW MARK KANTER
          Alias:           Andy Kanter
          Date of Birth:   July 6, 1969
          Place of Birth:  United States
          Citizenship:     United States
          Address:         24 Batemans Row, London, UI(

•5.       ANGELA MARIA BACARES
          Alias:            Angela Lynch
          Date of Birth:    April 1!5, 1967
          Place of Birth:   United States
          Citizenship:      United Kingdom      _
          Passport Nlunber: UK passport (540328464)
          Address:          26 St. Leonards Terrace, London, England, SW3 4QG

                                  . ASSISTANCE REQ1IBSTED

      L       Bank and Brokerage Records

          For the :period from January 1, 2009, to the present, please provide complete certified ·

records :from BARCLAYS PLC (including, without limitation,_ BARCLAYS BAJ\TI( PLC and

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                            any subsidiary and/or affiliate), located at 1 Churchill Place, London Bl 4 SHP, United Kingdom,

                           relating to:

                                                           1.              Account 10594105 held by Michael Richard Lynch;
                                                           2.              Account 50884103 held by Stephen Keith Chamberlain; and
                                                           3.              any and all an.y accounts 1raceabl~ to these accounts held by or for the
                                                                           benefit of;
                                                                         • a. •. Michael Richard Lynch; and/or
                                                                           b.      Stephen Keith. Chamberlain.

                                           For the period from January 1, 2009, to the present, please provide complete certified

                           records from CREDIT SUISSE AG (including, without limita~on, Credit Suisse Secmi.ties

                           (Europe) Ltd, Credit Suisse (UK) Limited, Credit Suisse International, and any subsidiary or

                           affiliate), located at One Cabot Square, LondonE14 4QJ, United Kingdom, relating to any

                           accounts held by or for the benefit of Michael Richard Lynch,

                                           For the period from January 1, 2009, to the present, please provide complete certified

                          records from HSBC BANK PLC (and an.y subsidiary or affiliate), located at 8 Canada'Square,

                          London.E14 5HQ, relating to:

                                                          1.                Account number 01495496 held by Angela Baca.res;
                                                          2.                Account.number 51471627 held by Sushovan Tareque Hussain; and_
                                                          3.                any and all any accounts traceable to these a,ccounts held by or for the
                                                                            benefit of:
                                                                            a.     .Angela Bacares; and/or
                                                                            b.      Sushovan Tareque Hussain.

                                          For the period from January 1-, 2009, to the present, please provide complete ce1tified

                          records from J.P. MORGAN INTERNATIONAL BANK L™1TED (including, without

                          limitaiion, J.P. Morgan Securities plc, J.P. Morgan Limited, and any subsidiary or affiliate),

                          located at 1 Knightsbridge, London SWlX 7LX, United Kingdom, relating to the following

                          accounts held by or for the benefit of Michael Richard Lynch:

                                                          1.                Accoun.tnlf!llber 9337000;

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                   2,      Account number 9337001;
                   3.      Account.number 9337050;
                   4.      Account number 9337051; and
                   5.      any and all any accounts traceable to these accounts held by or for the
                           benefit of Michael Richard Lynch.

            For the period from January 1, 2013, to the present, please provide complete certified

     records from nJLIUS BAER INTERNATIONAL LIMITED and JULWS BAER'POR1FOLIO

     MANAGERS LIMITED (including, without limitation, any subsidiary or affiliate) relating to:

                   1.      account or relationship numbers 4508.1443, held by Michael Richard
                           Lynch> and/or4508.1772, held by Angela Maria Bacares; and
                   2.    • any and all ap.y accounts traceable to these accounts held by 01· for the
                           benefit of Michael Richard Lynch and/or Angela Maria Bacares.3

            Fm: the period from January 1, 2009, to the present, please provide complete certified

 records from MERRILL LYNCH INTERNATIONAL (including, without limitation, Merrill

 Lynch International Bank Limited, Merrill Lynch Po1tfolio Managers Limited, and any

 subsidiary or affiliate), located at 2 King Edward Street, London ECl Q 1 HQ, United IGngdom,

 relating to any accounts held by or for the benefit, of Michael Richard Lynch and/or Angela

 Maria Bacares.

           For the period from January 1, 2011, to May 2012, please provide complete certified.

 records :from ROYAL BANK OF SCOTT~ PLC (including, without limitation, any

 subsidiary or affiliate), located at City Office, 62/63, .Threadneedle. Stteet, London EC2R 8LA,

 relating to:

                   1.      Account number 22369035 held .in the name of "Capita Registrars Limii:ed
                           CREST ClearingAccounf' (Smt Code 15-10-00)_; and ·
                   2.      Account number 230836+5 held .in the name of "Capita Registrars Limited
                           Re: Hewlett-Packard Visio.nB.V. / Autonomy Corporationplc-Takeover
                           Case Consideration.A/C" (Sort Code 15-10-00),


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  Please note U.S. authorities have also requested these documents from the Bailiwick of Guernsey. ·However, UK
 authorities seek auy records that may remain in the United Kingdom.                               •
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         For the period from Januru.y 1, 2009, to the present, please pl'Ovide complete certified

 records from UBS AG (including UBS Group, UBS AG, Investment Bank, UBS Wealth

 Management, UBS Securities Limited, and a11yparent, subsidiary, or affiliate), located at 1

 Finsbury Avenue, London EC2M 2PP, United Kingdom, relating to:

                1.        trading in Autonomy securities (including options) by Mlchael Richard
                          Lynch, Sushovan Tareque Hussain, Andrew Mark Kanter, and/or Stephen
                          Keith Chamberlain;
                2.        any and all any accounts traceable to these accounts held l>y or for the
                          benefit of
                          a.      Michael Richard Lynch;
                          b.      Sushovan. Tareque Hussain;
                          c.      Stephen Keith Chamberlain;
                          d.     Andrew Mark Kanter; and/or
                          e.     Angela Maria Bacares;
                3.        Communications with Michael Richard Lynch, Sushovan Tareque
                          Hussain, Andrew.Mark Kanter, and/or Stephen Keith Chamber1ain.

 Records from the above-listed banks should include, but not be limited to:

                      •    original signature cards;
                      •    documentation of account opening;
                      •    account ledger cards;
                      •    periodic account statements;·
                      •    records (copied front and back) of alt items deposited, withdrawn, or
                           transferred;
                     . • wire transfers; .
                       o correspondence to, from, or on behalf of the account holder;
                       o . shares and/or securities piu:cha_sed and/or sold; •
                       • copies of electronic recordings of any conversations;
                       • irutructions relating to the receipt or transfer of any funds into or out of
                           the account;
                       • powers of attorney and other banldng authorizations; and
                       11 memoranda related to the account.

        Additionally,th.e period from January 1, 2009, to the present, please provide all

 identifying information of any accounts held. at BARCLAYS PLC, CREDIT SUISSE AG, HSBC

 BANK PLC, J.P. MORGAN INTERNATIONAL BANK LIMITED, JULIUS BAER

 INTERNATIONAL LIMITED, JULWS BAEAR PORTFOLIO lv'IANAGERS LIMITED,
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 MER.RlLL LYNCH INTERNATIONAL, ROYAL BANK OF SCOTLAND PLC~ and UBS AG

 or elsewhere held in the name of or for the benefit of:M:ichael Richard Lynch, Sushovan Ta:reque

 Hussain, Andrew Mark Kanter, Stephen Keith Chamberlain; and/or Angela Maria Bacares. The

 identifying info~ation should include the bank name, bank address, account number, account

 holder(s), account signatories, account balance, and account opening documents.

     lI.       Business Records
                                                          '
           For the period January 1, '.4011, to May 2012, please provide complete certified records .

 from CAPITA REGISTRARS LIMITED (including, without limitation, Capita PLC and any

 subsidiary and/or affiliate) relating to:

                  1.      services performed by CAPITA.REGISTRARS LIMITED in connectio11
                          with the HP's acquisition of Autonomy;
                  2.      payments to Autonomy shareholders in connection with thi:;, HP
                          acquisition;
                  3.      Michael Richard Lynch, Sushovan. Tareque Hussain, Stephen Keith
                          Chamberlain, and/or Andrew .Jv!ark Kanter, including, with.out limitation,
                          communicatioru: with any ofthem; payments to an.y pfthem; and
                          documents relating to thefr acceptance of the offer;
                  4.      acceptances of HP a1n.d HP Vision's offer by UBS AG, CREDIT SUISSE
                          AG, lvffiRRILL LYNCH INTERNATIONAL, J.P. INTERNATIONAL
                          BANK LIMITED, and/or-any subsidiary or affiliate.

           For the period from January 1, 2011, to May 2012, please provide complete certified

 records from ROYAL BANK OF-SCOTLAND PLC (including, without limitation, any

 subsidiary or affiliate) relating to:

                  1.      the bank's services in coll1l.ection with the HP's acquisition of Autqnomy;
                  2.      Capita Registrars Limited's services in connection withHP's acquisition
                          of Autonomy.

 Records from CAPITA REGISTRARS LIM11ED and ROYAL BANK OF SCOTLAND PLC

 should include, but not be limited to:

                       • agreements and communications with HP, HP Vision, Autonomy, or
                         Autonomy shareholders;
                             •                  13




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                      •   correspondence with JY.uchael Richard Lynch, Sushovan Tareque Hussain;
                          Stephen Keith Chamberlain, and/or Andrew Mark Kanter;
                      •   Spreadsheets showing payments to shareholders;
                      •   Bank documents & statements; and
                      •   Wire transfers.

          For the period from January 1, 2009, to May 31, 2012, please provide complete certified

 records frol'U VODAPHONE relating to phone numbers +447833467012, and,records from

 TELEFONICA UK. LIMITED relating to phone numbers +447595219540.

 Records from VODAPHONE and TELEFONICA UK LIMITED should include, but not be

 limited to account statements showing calls made and received, and subscriber information,

                                PROCEDURES TO BE FOLLOWED

     I.        Busin.ess/Ban..lr. Records

          Under United States law, foreign business r_ecords are usually admitted into evidence in a

 proceeding in the United States after -fl?.e party offering them prnves, through the testimony at trial

 of a qualified witness; th.at .

          1.      the records produced are true and accurate copies of original records in the custody
                  of the business;                                           '

          2.     the business made or kept the originals in the ordinary course of business and as a
                 regular business practice; and    •

          3,     the originals wei-e made, at or near the time of the occurrence of the.transactions
                 they record, by a person who either had lrnowledge of those transactions or received
                 the information from a person with such knowledge. .

          The testimony of a qualified wi1ness may be unnecessary at trial in the United States where

 that witness makes or provides a written declaration in a foreign jlll'isdiction (i.e., the United

 Kingdom) that (1) contains essentially the same informi:ition noted in ite.tn.S 1~3 above and (2)

 subjects the witness to criminal penalties under the la':'7s of the foreign jurisdiction if the

 declaration is false. Arti.(?le 8(5) of the Treaty provides for such a declaration.
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         In accordance with Article 8 of the Treaty, please have the appropriate au1h9rities in the

 United Kingdom do the following:·

         1.      require each bank/business official producing records to complete, and sign the
                 attached Certificate of Autb.enticity of Business Records;

         2.      attach the completed certificate to the corresponding records produced by the
                 bank/business official and_ transmit the records with certificate, through or as
                 directed by the Central Authority for the United Kingdom, to the Office of
                 International Affai1'8, .U.S. Department of Justice,

        In accmdance with Article 10(2) of the Treaty, please invite each bartlc/business offici~

 producing records to appear, if it should become necessary, at a date to be deterlnined, in San

 Francisco, California, at the expense of the United States government, to testify at trial.

        We thank you for y~ur assistance with this matter and ask that you keep us apprised of all

 developments.



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 Date
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                                                   Office of International Afli irs
                                                   Crimin.al Division
                                                   U.S. Deparfment of Justic~




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                    CERTIFICATE OF AUTHENTICITY OF BUSINESS RECORDS


 I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Name), attest on penalty of criminal punishment for false

 statement or false attestation that I am employed by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 (Name of Business from which documents are produced) and that my official title is

_ _ _ _ _ _ _ _ _ _ _ _ _ _ (Official Title). I further state that each of the records attached

hereto is the original or a duplicate of the original of records in the custody of

_ _ _ _ _ _ _ _ _ _ ____ _ _ _ _ _ _ _ _ _ _ (Name ofBusincss from which

documents al'e produced). I further state that


        A) such recotds were made ator near the time of the occurrence of the matters set forth, by (or

            from information transmitted by) a person with knowledge of'those matters;


        B) such records were kept in the course of a regularly conducted business activity;


        C) the business activity made the records as a regular practice; and


        D) if any of such records is not tbe ol'iginal, such record is a duplicate·of the original.


_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Signature)


_ _ _ _ _ _ _ _ _ _ _ _ _ __ (Date)


Sworn to or affmned before me, _____________ (Name), a _ (notary public, judicial
officer, etc.), this _ _ _ _ _ day of       20_ _ _ __




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